     Case 19-04512   Doc 12-1   Filed 03/01/19 Entered 03/01/19 11:48:01   Desc Exhibit
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    EXHIBIT B
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 Property Details                                                                                                                                          Page 1 of 1
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EXHIBIT D                                                               Page 35 of 35


      Property Data      Exemption History        Appeal History     Certificate of Error


  Property Characteristics
  2018 Tax Year Property Information
                            PIN:       19-26-102-070-0000
           *Property Location:        7122 S AVERS AVE

                            City:     CHICAGO

                      Township:       Lake

       Property Classification:       203

       Square Footage (Land):         4,158

                Neighborhood:         30

                       Taxcode:       72014


  Assessed Valuation

                                                                      2018 Assessor Certified                       2017 Board of Review Certified

                                       Land Assessed Value                       4,158                                            3,742

                                    Building Assessed Value                      14,930                                          13,110

                                       Total Assessed Value                      19,088                                          16,852


  Property Characteristics

                             Estimated 2018 Market Value $190,880

                             Estimated 2017 Market Value $168,520

                                                  Description One story residence, any age, 1,000 to 1,800 square feet

                                              Residence Type One Story

                                                         Use Single Family

                                                  Apartments 0

                                       Exterior Construction Masonry

                                                   Full Baths 1

                                                   Half Baths 0

                                                   Basement1 Full and Rec Room

                                                         Attic Full and Unfinished

                                                   Central Air Yes

                                       Number of Fireplaces 0

                                            Garage Size/Type2 2 car detached

                                                         Age 63

                                    Building Square Footage 1,088

                                            Assessment Pass Assessor Certified
  1
      Excluded from building square footage, except apartment
  2   Excluded from building square footage

       * “Property Location” is not a legal/postal mailing address. Its sole purpose is to help our Office locate the property. Therefore, you should not utilize the property
       location for any purpose, however, you may update the Property Location with your Legal/Postal Mailing Address should you choose to do so. Updating the address
       will not change the Property Location to a Legal/Postal Mailing Address.



       ** Information may be available by submitting an FOIA Request




 http://www.cookcountyassessor.com/Property.aspx?mode=details&pin=19261020700000                                                                                   2/25/2019
